Case 1:17-cv-02003-GBD-SN Document171-1 Filed 10/18/19 Page 1 of 2

EXHIBIT 1
Case 1:17-cv-02003-GBD-SN Document171-1 Filed 10/18/19 Page 2 of 2

Michel Baumeister
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From: Michel Baumeister

Sent: Wednesday, March 20, 2019 9:39 AM
To: Patricia Ryan

Ce: Kathy Maher

Subject: RE: More Questions

Dear Patty and Kathy -

Thanks for your concern and I can report all is well.

Unfortunately, after reading your recent email it seems clear that my past extensive oral and written
explanations concerning the USVSST Fund, and its impact on your individual cases, do not satisfy either of
you. I am sorry for that and it appears that no explanation by me will ever be good enough. Given this fact, I
do not want you to feel that in some way that we are restricting you from hiring a specialty lawyer. If you feel
it is appropriate to begin some legal action under the APA, or whatever else you want to do going forward, then
you should do just that.

Since you repeatedly mention the Kreindler and Motley law firm firms as ones who may possibly be involved
with future APA litigation, and since Jim Kreindler is a leader in the terrorist litigation, I suggest you both
contact him and have him represent you in your terrorist cases and in possible APA litigation. Alternatively,
you could contact the Motley firm. We will then turn over whatever information we may still have after 17+
years of a close professional relationship.

In 45+ years of representing my clients, I have never written a letter suggesting that a client retain another
attorney. However, given your recent communications with my firm, I believe it is probably better if you start a
relationship with a new attorney who might be able to satisfy your current demands and interests.

In any event, I wish you and your families the best of luck in the future. Please let me know who you ultimately
retain and hopefully you will be happier with them.

Sincerely yours,
Mitch

Mitch Baumeister
Baumeister & Samuels, P.C.
140 Broadway, 46" Floor
New York, NY 10005

Ph: (212) 363-1200

Fax: (212) 363-1346
www.baumeisterlaw.com

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1
